          20-10640-tmd Doc#4 Filed 06/01/20 Entered 06/01/20 12:39:15 Main Document Pg 1 of 2

      Fill in this information to identify the case:

                    EF-290, LLC
      Debtor name __________________________________________________________________

                                              Western District of Texas
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                             Check if this is an
                                   20-10640
      Case number (If known):     _________________________                                                                                    amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,       Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Greg and Nancy Fernandez                 Greg Fernandez                Monies Loaned /        Disputed
1    19506 Gran Robe                                                        Advanced
     San Antonio, TX, 78258
                                                                                                                   2,750,000.00      0.00               275,000.00


     Andrew Roggensack                        Andrew Roggensack Revocable   Monies Loaned /        Disputed
2    4115 Grand Ave                           Trust U/A/D 10/10/2012        Advanced
     Western Springs, IL, 60558
                                                                                                                   2,750,000.00      0.00               100,000.00


     Dave Paul                                Dave Paul                     Monies Loaned /        Disputed
3    1532 West 93rd Court                                                   Advanced
     Crown Point, IN, 46307
                                                                                                                   2,750,000.00      0.00               50,000.00


     Robert and Connie Jirgl                  Robert and Connie Jirgl       Monies Loaned /        Disputed
4    P.O. Box 565                                                           Advanced
     Dowagiac, MI, 49047                                                                                           2,750,000.00      0.00               25,000.00


     Chase Bank USA, N.A.                                                   Credit Card Debt       Disputed
5    Attn: Keith W. Schuck
     200 White Clay Center Dr.                                                                                                                          9,764.64
     Newark, DE, 19711-0000


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    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 1
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                  EF-290, LLC                                                                                        20-10640
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


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    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
